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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

                                     CIVIL MOTION HEARING

                                                         COURT MINUTES
 Clarence Lozoya,                                      BEFORE: Eric C. Tostrud
                                                          U.S. District Judge
                        Plaintiff,
                                              Case No:           21-cv-990 ECT/LIB
 v.                                           Date:              October 18, 2021
                                              Court Reporter:    Tim Willette
 City of Cloquet, et al.,                     Courthouse:        St. Paul
                                              Courtroom:         Video
                        Defendants.           Time Commenced:    11:00 a.m.
                                              Time Concluded:    11:53 a.m.
                                              Time in Court:     53 Minutes
APPEARANCES:
Plaintiff:        Andrew Parker and Joseph Pull, Parker Daniels Kibort LLC

Defendants:       Joseph Flynn and Vicki Hruby, Jardine Logan & O’Brien PLLP
                  Jessica Schwie, Kennedy & Graven


HEARING ON:
MOTION to Dismiss/General filed by County of Carlson. [ECF No. 18]

MOTION to Dismiss/General filed by City of Cloquet, Carey Ferrell. [ECF No. 46]

PROCEEDINGS:
The motions were moved, argued and taken under advisement. Order to follow.

                                                                             s/ R. Morton_____
                                                                             Courtroom Deputy
